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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

OWEN PUCKETT,

                       Plaintiff,

v.                                                                    16cv511 WJ/WPL

UNITED STATES OF AMERICA,

                       Defendant.

                               ORDER TO CURE DEFICIENCY

       Plaintiff Owen Puckett filed a Motion for Leave to Proceed on Appeal Without

Prepayment of Costs or Fees pursuant to 28 U.S.C. § 1915 and FED. R. APP. P. 24. (Doc. 678.)

His motion, however, does not comply with § 1915(a)(2), because he did not provide a certified

copy of his inmate account statement for the 6-month period immediately preceding the notice of

appeal. See § 1915(a)(2) (“A prisoner seeking to bring a civil action or appeal a judgment in a civil

action or proceeding without prepayment of fees or security therefor, in addition to filing the

affidavit filed under paragraph (1), shall submit a certified copy of the trust fund account statement

(or institutional equivalent) for the prisoner for the 6-month period immediately preceding the

filing of the complaint or notice of appeal, obtained from the appropriate official of each prison at

which the prisoner is or was confined.”).

       In order for me to consider his motion, Puckett must submit an updated account statement

for the required 6-month period. Failure to cure this deficiency by August 22, 2016, will result in

denial of Puckett’s request for leave to proceed in forma pauperis.

       IT IS SO ORDERED.
                                                      _________________________
                                                      William P. Lynch
                                                      United States Magistrate Judge
